Case 2:16-cr-00155-JLL Document 14-13 Filed 07/14/16 Page 1 of 7 PagelD: 205

Exhibit J
Case 2:16-cr-00155-JLL Document 14-13 Filed.07/14/16 Page 2 of 7 PagelD: 206

Tuesday, July 5, 2016 at 8:12:06 PM Eastern Daylight Time

Subject: RE: Itinerary for your upcoming trip
Date: Tuesday, October 15, 2013 at 10:14:11 AM Eastern Daylight Time
From: Grewal, Gurbir (USANJ)

To: Adam Ford, Grippo, Nicholas (USANJ)
Cc: Kramer, Jenny (USANJ)
Adam —

| believe when we spoke the timing of this trip was different — as a matter of fact, you needed to FedEx Mr.
Gentile his passport so he could travel the following day.

The timing below presents a problem that we need to discuss.

From: Adam Ford [mailto:aford@harrisobrien.com]
Sent: Monday, October 07, 2013 5:14 PM

To: Grewal, Gurbir (USANJ); Grippo, Nicholas (USANJ)
Subject: Fwd: Itinerary for your upcoming trip

Gurbir and Nick,

Per discussion with the agents, please see Mr. Gentile's travel itinerary for his upcoming trip to
the Bahamas. As discussed last week, we will provide you with the requested paperwork upon his
return. Thanks.

--Adam

Harris, O'Brien, St. Laurent & Chaudhry LLP
111 Broadway, Suite 1502

New York, NY 10006

direct: (917) 512-6937
aford@harrisobrien.com

Begin forwarded message:

From: Guy Gentile <guygentile76@gmail.com>
Subject: Fwd: Itinerary for your upcoming trip
Date: October 7, 2013 4:19:17 PM EDT

To: Adam Ford <aford@harrisobrien.com>

Sent from my iPhone

Begin forwarded message:

From: JetBlue Reservations <reservations@jetblue.com>

Page 1 of 6
Case 2:16-cr-00155-JLL Document 14-13

Date: October 5, 2013 at 10:12:04 PM EDT

To: <guygentile76@gmail.com>
Subject: Itinerary for your upcoming trip

JetBlue |

Filed 07/14/16 Page 3 of 7 PagelD: 207

You're set to jet. YVWDGHS

Your confirmation number is YYVDGHS

Flight status

Scan this barcode to check in at any JetBlue kiosk

Baggage info

 Change/cancel = Manage flights Seats

Your confirmation number is YVDGHS
Scan the barcode at the top of this page to check in at any JetBlue kiosk.

RES ESOT]
Your itinerary [™

Date Deparis/ Route Flight/ Travelers Frequent Seais2 Terminal
arrives operated by Flyer!

Mon, 6:44a.m. NEWYORK 621 Guy Gentile B6 7D 5
Oct 21 9:43 a.m. CITY, NY B6 2065481626

(JFK) to

NASSAU,

BAHAMAS

(NAS)
Sun, 10:55 a.m. NASSAU, 622 Guy Gentile B6 8F Cc
Oct 27 1:43p.m. BAHAMAS B6 2065481626

(NAS) to

NEW YORK

CITY, NY

Page 2 of 6
Case 2:16-cr-00155-JLL Document 14-13 Filed 07/14/16

(JFK)

For a detailed receipt, select a customer

Guy Gentile

Please click here for details regarding change and cancel policies.

1 To provide a frequent flier number please call 1-800-JETBLUE (538-2583)

Page 4 of 7 PagelD: 208

Ticket number(s)
2792100595115

2 Seats requests on other airlines are not guaranteed until confirmed by the operating carrier.

From roomy to roomier.

Even More Space

Upgrade to an Even More Space seat and get extra

Let's go

legroom, early boarding and early access to overhead

bins.

Reduce what you can
offset what you can't

We're working to protect and

preserve the environment. By
choosing to offset your travel,
you too are making a pledge to

protect the environment.

Hotels.com

Great hotel offers
with our partner

Special Internet Rate Price
Match Guarantee®, no Change

or Cancel feet, no phone fee

and TripAdvisor® customer

reviews.

 

Allianz

Travel insurance

For Allianz Global Assistance

flight insurance inquiries,
please call 1-800-496-0329.

Car

Car rentals

Save up to 35% and earn
double TrueBlue points with

Hertz.1

JetBlue

Earn 20,000 TrueBlue
points

After you spend $1,000 with

your Card in your first 3 months
of Cardmembership. Apply now.

GroundLink

Your driver is here

Guaranteed on-time car
service providing easy, reliable
ground transportation for
travelers worldwide. Book your
ride now.

Page 3 of 6
Case 2:16-cr-00155-JLL Document 14-13 Filed 07/14/16 Page 5 of 7 PagelD: 209

Same smart app. More smartphones.
| BlueTales Blog Download the JetBlue mobile app for iPhone
—__! Li} LL - : _| and Android now!

Help Corporate Travel Privacy About JetBlue

 

+DIRECTV® and XM Radio® services are not available outside the continental U.S.; however, where applicable, movies from
JetBlue Features™ are offered complimentary on these routes.

1. Welcome bonus offer not available to applicants who have had this product or a Crewmember JetBlue Card account
within the last 12 months. You can earn 20,000 TrueBlue points after you spend $1,000 on eligible purchases in your first
three months of Cardmembership following the tirne of Card account opening. Eligible purchases are purchases of goods or
services minus returns and credits, and do NOT include: fees or interest charges, balance transfers, cash advances, purchases
of travelers checks, purchases or reloading of prepaid cards, or purchases of cash equivalents. TrueBlue points will be credited
to your JetBlue TrueBlue Program account 6 to 8 weeks after the spend requirement has been reached. This offer is not valid
for existing JetBlue Cardmembers. You are eligible to receive points for only one Card account. Additional Cardmembers are
not eligible.

2. Price Match Guarantee: If you find the same hotel and dates of stay at a lower rate, Hotels.com will, at its choice, either
match the lower rate or cancel the reservation without a cancellation fee. See http://hotels.jetblue.com/index.jsp?

pageName=guarantee.

3. No Change/Cancel Fees: Hotels.com does not charge a change or cancel fee; however, each property has independent
penalties for changes/cancellations. See full hotel details and descriptions for details.

4. *Advertised rates are based on trips between airports and downtown metropolitan area locations in an economy class
vehicle. Rates do not include additional charges that may be applicable, such as charges for tolls, extra stops, parking fees,
telephone usage, pets, extra in-car bags, car seats, waiting time, or custom requests. Rates include local and state taxes and
fees, except in NY, NJ, and CT; passengers in these states are responsible for taxes and fees (including, in NY, a 2% NYC
workmen's compensation charge and 8.875% state and local sales taxes). Rates include gratuity, except in NY, NJ, and CT;
passengers traveling in these states are encouraged to provide appropriate gratuity based on the service received. Economy
pricing may not be available at all times during the day or during certain weather conditions. Advertised rates only apply for
bookings made online at limos.jetblue.com or by calling 1-888-478-8190.

CUSTOMER CONCERNS
Any customer inquiries or concerns can be addressed here, emailed to dearjetblue@jetblue.com, or sent to JetBlue Airways,
6322 South 3000 East, Suite G10, Salt Lake City, UT 84121.

NOTICE OF INCORPORATED TERMS

All travel on JetBlue, whether it is domestic or international travel, is subject to JetBlue's Contract of Carriage, the terms of
which are incorporated herein by reference. International travel may also be subject to JetBlue's international passenger rules
tariffs on file with the U.S. and other governments, and, where applicable, the Montreal Convention or the Warsaw Convention
and its amendments and special contracts. Incorporated terms include, but are not restricted to:

NOTICE OF INCREASED GOVERNMENT TAX OR FEE
JetBlue reserves the right to collect additional payment after a fare has been paid in full and tickets issued for any additional
government taxes or fees assessed or imposed.

1. Liability limitations for baggage, including special rules for fragile and perishable goods and the availability of excess
valuation.

2. Liability limitations for personal injury or death.

3. Claims restrictions, including time periods within which passengers must file a claim or bring an action against JetBlue.

4. Rights of JetBlue to change the terms of contract.

5. Rules on reservations, check-in, and refusal to carry.

6. JetBlue's rights and limits on its liability for delay or failure to perform service, including schedule changes, substitution of
aircraft or alternate air carriers, and rerouting.

7. Non-refundability of reservations.

8. The Contract of Carriage and tariffs may be inspected at all JetBlue airport customer service counters, and upon request you
have the right to receive by mail a copy of the full text of the Contract of Carriage or tariffs. Additional information on items one
through seven can be obtained on JetBlue's website at www.JetBlue.com or at any U.S. location where JetBlue transportation
is sold.

Page 4 of 6
Case 2:16-cr-00155-JLL Document 14-13 Filed 07/14/16 Page 6 of 7 PagelD: 210

CARRY-ON BAGGAGE RULES

JetBlue flights - Each customer may bring one bag that fits in the overhead bin plus one personal item (purse, briefcase, laptop,
etc.) that fits under the seat in front free of charge. Any excess carry-on baggage will be checked baggage. Visit
http://www.jetblue.com/bags and http://Awww.tsa.gov for more information. Connecting on our partner airlines (including Cape
Air) — The carry-on rules of a partner airline apply when checking in to a JetBlue flight that is connecting to the partner. See
http:/Awww.jetblue.com/partners for more information. While JetBlue may allow additional carry-ons as a courtesy to customers
connecting to our partner airline, JetBlue cannot guarantee that those bags will be accepted for in-cabin travel on the partner.
Customers are encouraged to abide by partner's rules for their entire journey to avoid additional checked baggage fees if their
carry-ons do not meet size/weight restrictions.

CHECKED BAGGAGE ALLOWANCE/FEES

Domestic JetBlue flights - JetBlue allows one free checked bag, subject to size/weight restrictions. For flights booked on or after
February 3, 2012 a $40.00 fee applies to a second checked bag ($35.00 for flights booked before February 3, 2012), subject to
size/weight restrictions. A $75 fee applies for a third checked bag. Other fees apply for additional baggage and oversized or
overweight baggage. Visit http:/Awww.jetblue.com/bags for more information. International JetBlue flights - JetBlue allows one
free checked bag, subject to size/weight restrictions. For flights booked on or after February 3, 2012 a $40.00 fee applies to a
second checked bag ($35.00 for flights booked before February 3, 2012). Excess baggage rules and size/weight restrictions
may vary depending on load availability and country restrictions. See www.jetblue.com/bags for more information. Travel on our
partner airlines (excluding Cape Air*) - Baggage rules and fees vary by partner airline and destination. JetBlue will follow our
partner airlines' fees when customers are traveling on an itinerary including one of our partner airlines. Excess baggage rules
and size/weight restrictions may vary depending on load availability. See http://www.jetblue.com/partners for more information.

*For itineraries with a connection only to/from Cape Air, JetBlue's standard fees apply.

CHECK-IN TIMES

For domestic flights, customers traveling without checked baggage must obtain a boarding pass twenty (20) minutes prior to
scheduled departure and customers traveling with checked baggage must obtain a boarding pass thirty minutes prior to
scheduled departure. Customers must be present in the boarding gate are fifteen (15) minutes prior to scheduled departure or
the posted aircraft departure time. For international flights, customers traveling with or without checked bags must obtain a
boarding pass sixty (60) minutes prior to scheduled departure. Customers must be present in the boarding gate twenty (20)
minutes prior to scheduled departure or the posted aircraft departure time.

DOCUMENTATION REQUIREMENTS

For domestic travel, customers over the age of 18 will be required to show a U.S. federal or state-issued photo ID that contains
the following information: name, date of birth, gender, expiration date and a tamper-resistant feature. Customers traveling
to/from an international destination are required to present proper documentation at the time of check-in. Documents required
for travel vary according to citizenship, residency, country of travel, age (for minors), length of stay, purpose of visit, student
status, etc. Please check for specific requirements for the country, or countries, you are visiting to make sure you have the
correct documents. In addition, Customers traveling to a country other than their country of citizenship or residency are required
to hold proof of return or onward travel. Failure to present proper documentation could result in denied boarding.

ADVICE TO INTERNATIONAL PASSENGERS ON LIMITATION OF LIABILITY

Where a passenger's journey involves an ultimate destination or a stop in a country other than the country of departure, either
the Warsaw Convention and the Hague Protocol, their amendments, and any special contracts of carriage embodied in
applicable tariffs that waive Warsaw/Hague limits, or the Montreal Convention may apply to the entire journey including the
portion within the countries of departure or destination and, in some cases, may limit the liability of the carrier for death or
personal injury, delay, and for loss of or damage to baggage. The Montreal Convention, where applicable, does not impose,
and special contracts voluntarily entered into by many carriers, including JetBlue, waive, the Warsaw/Hague limitations for
compensatory damages arising out of personal injury or wrongful death caused by an accident, as defined by the applicable
treaty. The names of carriers party to the special contracts are available at all ticket offices of such carriers and may be
examined upon request.

NOTICE OF BAGGAGE LIABILITY LIMITS

For international transportation (including domestic portions) governed by the Montreal Convention, JetBlue's liability for
baggage is limited to 1,131 SDRs (see, http://(www.imf.org for current value) per passenger unless a higher value is declared
and an extra charge is paid. For international transportation governed by the Warsaw Convention and the Hague Protocol and
their amendments, JetBlue's liability for baggage is limited to $9.07 per pound for checked baggage and $400 per passenger
for unchecked baggage unless a higher value is declared and an extra charge is paid. Special rules may apply to valuable
articles. For domestic transportation, JetBlue's liability for baggage is limited to $3,300 per passenger. General baggage rules:
As set forth more fully in its Contract of Carriage and international passenger rules tariffs, JetBlue will not be responsible for
fragile or perishable goods. JetBlue assumes no liability for oversized, overweight or overpacked baggage, or for loss of or
damage to baggage parts such as wheels, straps, pockets, pull handles, zippers, hanger hooks or other items attached to
baggage. JetBlue will not be responsible for the following items in checked or unchecked baggage: money, jewelry including
watches, cameras, camcorders, any type of electronic equipment, including computers, valuable papers or documents and
other similar items as described in more detail in the Contract of Carriage.

NOTICE OF OVERBOOKING OF FLIGHTS

Although JetBlue does not intentionally overbook its flights, there is a slight chance that a seat will not be available on a flight
for which a person has a confirmed reservation. If the flight is overbooked, no one will be denied a seat until airline personnel
first ask for volunteers willing to give up their reservation in exchange for compensation of the airline's choosing. If there are not
enough volunteers, JetBlue will deny boarding to other persons in accordance with its particular boarding priority. With few

Page 5 of 6
Case 2:16-cr-00155-JLL Document 14-13 Filed 07/14/16 Page 7 of 7 PageID: 211

exceptions, including failure to comply with JetBlue's check-in deadline (which are available upon request from JetBlue),
persons denied boarding involuntarily are entitled to compensation. The complete rules for the payment of compensation and
JetBlue's boarding priorities are available at all airport ticket counters and boarding locations. Some airlines do not apply these

consumer protections to travel from some foreign countries, although other consumer protections may be available. Check with
your airline or your travel agent.

Page 6 of 6
